          Case 2:11-cr-00190-KJM Document 437 Filed 08/06/20 Page 1 of 1


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8                                UNITED STATES DISTRICT COURT

9                               EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,
11                                                        Case No. 2:11-CR-0190 MCE
                          Plaintiff,
12                        v.                              ORDER UNDER LOCAL RULE 141(b)

13   NICHOLAS RAMIREZ,

14                        Defendant.

15
            Having considered counsel’s request to file supplemental medical records under
16
     seal, the court finds compelling reason to do so to protect Mr. Ramirez’s privacy. It is
17
     hereby ordered that counsel may file Defendant Ramirez’s supplemental medical records
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     with this Court under seal. As set forth in an accompany order, this Court grants
19
     Mr. Ramirez’s motion to submit his supplemental medical records in connection with his
20
     Emergency Motion to Reduce or Modify Sentence Pursuant to 18 U.S.C. § 3582(C)(1)(A)(I)
21
     (Compassionate Release) (D.I. 414)
22
            IT IS SO ORDERED.
23
     Dated: August 6, 2020
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                                                                               Order under Local Rule 141(b)
                                                                               Case No. 2:11-CR-0190 MCE
